        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 1 of 16
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                   May 22, 2017
                                IN THE UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

PATRICK J. COLLINS, et al.,                          §
          Plaintiffs,                                §
                                                     §
v.                                                   §    CIVIL ACTION NO. H-16-3113
                                                     §
FEDERAL HOUSING FINANCE                              §
AGENCY, et al.,                                      §
         Defendants.                                 §


                                            MEMORANDUM AND ORDER

           Plaintiffs Patrick J. Collins, Marcus J. Liotta and William M. Hitchcock are

shareholders in the Federal National Mortgage Association (“Fannie Mae”) and/or the

Federal Home Loan Mortgage Corporation (“Freddie Mac”). Plaintiffs complain that

actions by the Federal Housing Finance Agency (“FHFA”) and the United States

Department of Treasury (“Treasury”) adversely affected the value of Plaintiffs’ shares.

The case is now before the Court on the Motion to Dismiss [Doc. # 23] filed by

Defendants FHFA and its Director Melvin L. Watt. Also pending is the Motion to

Dismiss [Doc. # 25] filed by Treasury and its Secretary Steven Mnuchin,1 the Motion

for Summary Judgment on Constitutional Claim [Doc. # 33] filed by Plaintiffs, and

1
           In February 2017, Mnuchin became Secretary of Treasury, replacing Jacob Lew, the
           named Defendant. As a result, Mnuchin was automatically substituted as Defendant
           in this lawsuit. See FED. R. CIV. P. 25(d); McCardell v. U.S. Dept. of Hous. and
           Urban Dev., 794 F.3d 510, 515 n.19 (5th Cir. 2015).
P:\ORDERS\11-2016\3113MsD.wpd 170522.1330
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 2 of 16




the Cross-Motion for Summary Judgment on Constitutional Claim [Doc. # 35] filed

by the FHFA and Watt.2 The Court has reviewed the full record and the applicable

legal authorities. Based on that review, the Court grants Defendants’ Motions and

denies Plaintiffs’ Motion.

I.         BACKGROUND

           The historical background of this dispute is set forth fully in the well-reasoned

decision of the United States Court of Appeals for the District of Columbia in Perry

Capital, LLC v. Mnuchin, 948 F.3d 1072 (D.C. Cir. 2017). The Federal National

Mortgage Association (“Fannie Mae”) and the Federal Home Loan Mortgage

Corporation (“Freddie Mac”) became major players in the United States housing

market. By 2008, they controlled combined mortgage portfolios valued at $5 trillion,

nearly half of the United States mortgage market.

           In 2008, the United States housing market suffered a severe decline. Fannie

Mae and Freddie Mac suffered a precipitous drop in the value of their mortgage

2
           The FHFA and Watt filed a Memorandum [Doc. # 24] in support of their Motion to
           Dismiss, Treasury and Mnuchin filed a Memorandum [Doc. # 26] in support of their
           Motion to Dismiss, Plaintiffs filed a combined Memorandum [Doc. # 32] in
           opposition to Defendants’ Motions to Dismiss and in support of their Motion for
           Summary Judgment, the FHFA and Watt filed a Reply [Doc. # 37] in support of their
           Motion to Dismiss, Treasury and Mnuchin filed a Reply [Doc. # 38] in support of
           their Motion to Dismiss, Plaintiffs filed a combined Reply [Doc. # 41], the FHFA and
           Watt filed a Reply [Doc. # 49] in support of their Motion for Summary Judgment on
           Constitutional Claim, Plaintiffs filed a Sur-Reply [Doc. # 45], and Defendants filed
           a Response [Doc. # 48] to Plaintiffs’ Sur-Reply.

P:\ORDERS\11-2016\3113MsD.wpd 170522.1330       2
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 3 of 16




portfolios. As a result, Congress enacted the Housing and Economic Recovery Act

(“HERA”), which established FHFA. HERA classified Fannie Mae and Freddie Mac

as “regulated entities” subject to the direct supervision of FHFA. See 12 U.S.C.

§ 4511(b)(1). Fannie Mae and Freddie Mac were subject also to the general

regulatory authority of FHFA’s Director. See 12 U.S.C. § 4511(b)(1), (2). HERA

charged FHFA’s Director with overseeing the prudential operations of Fannie Mae

and Freddie Mac, and ensuring that they operated in a safe and sound manner,

consistent with the public interest. See 12 U.S.C. § 4513(a)(1)(A), (B)(i), (B)(v).

           HERA also authorized the FHFA Director to appoint FHFA as either

conservator or receiver for Fannie Mae and Freddie Mac, “for the purpose of

reorganizing, rehabilitating, or winding up the[ir] affairs.” 12 U.S.C. § 4617(a)(2).

HERA grants to FHFA as conservator broad authority and discretion over the

operation of Fannie Mae and Freddie Mac. For example, upon appointment as

conservator of a regulated entity, FHFA immediately succeeds to “all rights, titles,

powers, and privileges of the regulated entity, and of any stockholder, officer, or

director of such regulated entity with respect to the regulated entity and the assets of

the regulated entity.” 12 U.S.C. § 4617(b)(2)(A). Additionally, FHFA is authorized

to “take over the assets of and operate the regulated entity,” and to “preserve and




P:\ORDERS\11-2016\3113MsD.wpd 170522.1330   3
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 4 of 16




conserve the assets and property of the regulated entity.”                  12 U.S.C.

§ 4617(b)(2)(B)(i), (iv).

           HERA also grants to FHFA expansive general powers, authorizing FHFA to,

inter alia, “take such action as may be . . . necessary to put the regulated entity in a

sound and solvent condition” and “appropriate to carry on the business of the

regulated entity and preserve and conserve [its] assets and property[.]” 12 U.S.C.

§ 4617(b)(2), (2)(D). FHFA is also authorized, in its discretion, to “transfer or sell

any asset or liability of the regulated entity in default . . . without any approval,

assignment, or consent.” 12 U.S.C. § 4617(b)(2)(G). Additionally, FHFA is

authorized to “disaffirm or repudiate [certain] contract[s] or lease[s].” 12 U.S.C.

§ 4617(d)(1). HERA, to enable the FHFA Director to protect the “public interest,”

granted to FHFA as conservator the authority to exercise its statutory authority and

any necessary “incidental powers” in the manner that FHFA “determines is in the best

interests of the regulated entity or the Agency.” 12 U.S.C. § 4617(b)(2)(J).

           Separately, HERA granted Treasury temporary authority to “purchase any

obligations and other securities issued by” Fannie Mae and Freddie Mac. 12 U.S.C.

§§ 1455(l)(1)(A), 1719. This enabled Treasury to buy large numbers of Fannie Mae

and Freddie Mac shares, and thereby infuse the companies with capital to ensure their

continued liquidity and stability. HERA conditioned such purchases of stock on


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330   4
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 5 of 16




Treasury’s specific determination that the terms of the purchase would “protect the

taxpayer.” 12 U.S.C. § 1719(g)(1)(B)(iii). A sunset provision terminated Treasury’s

authority to purchase shares after December 31, 2009. 12 U.S.C. § 1719(g)(4).

Thereafter, Treasury was authorized only “to hold, exercise any rights received in

connection with, or sell, any obligations or securities purchased.”         12 U.S.C.

§ 1719(g)(2)(D).

           Importantly for the pending lawsuit, HERA sharply limits judicial review of

FHFA’s conservatorship activities, directing that “no court may take any action to

restrain or affect the exercise of powers or functions of the Agency as a conservator.”

12 U.S.C. § 4617(f) (emphasis added).

           On September 6, 2008, FHFA’s Director placed both Fannie Mae and Freddie

Mac into conservatorship. The next day, Treasury entered into Preferred Stock

Purchase Agreements (“PSPAs”) with Fannie Mae and Freddie Mac, under which

Treasury committed to invest billions of dollars in the two companies to keep them

from defaulting. In exchange for Treasury’s capital infusion, Treasury received one

million senior preferred shares in each company. Those shares entitled Treasury to:

(i) a $1 billion senior liquidation preference – a priority right above all other

shareholders, whether preferred or otherwise, to receive distributions from assets if

the entities were dissolved; (ii) a dollar-for-dollar increase in that liquidation


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330   5
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 6 of 16




preference each time Fannie Mae and Freddie Mac drew upon Treasury’s funding

commitment; (iii) quarterly dividends that the companies could either pay at a rate of

10% of Treasury’s liquidation preference or a commitment to increase the liquidation

preference by 12%; (iv) warrants allowing Treasury to purchase up to 79.9% of

Fannie Mae’s and Freddie Mac’s common stock; and (v) the possibility of periodic

commitment fees over and above any dividends. The PSPAs also included a covenant

that Fannie Mae and Freddie Mac could not “declare or pay any dividend (preferred

or otherwise) or make any other distribution (by reduction of capital or otherwise),

whether in cash, property, securities or a combination thereof” without Treasury’s

advance consent (unless the dividend or distribution was for Treasury’s Senior

Preferred Stock or warrants).

           The PSPAs initially capped Treasury’s commitment to invest capital at $100

billion per company. When it appeared that Fannie Mae and Freddie Mac would

require even greater capital infusions by Treasury, FHFA and Treasury adopted the

First Amendment to the PSPAs in May 2009, under which Treasury agreed to double

the funding commitment to $200 billion for each company. Seven months later, in a

Second Amendment to the PSPAs, FHFA and Treasury again agreed to raise the cap,

this time to an adjustable figure determined in part by the amount of Fannie Mae’s and

Freddie Mac’s quarterly cumulative losses between 2010 and 2012. As of June 30,


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330   6
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 7 of 16




2012, Fannie Mae and Freddie Mac together had drawn $187.5 billion from

Treasury’s funding commitment.

           Through the first quarter of 2012, Fannie Mae and Freddie Mac repeatedly

struggled to generate enough capital to pay the 10% dividend they owed to Treasury

under the amended PSPAs. As a result, FHFA and Treasury adopted the Third

Amendment to the PSPAs on August 17, 2012. The Third Amendment to the PSPAs

replaced the previous quarterly 10% dividend formula with a requirement that Fannie

Mae and Freddie Mac pay as dividends only the amount, if any, by which their net

worth for the quarter exceeded a capital buffer of $3 billion, with that buffer

decreasing annually down to zero by 2018. Stated differently, the Third Amendment

requires Fannie Mae and Freddie Mac to pay to Treasury quarterly dividends equal

to their excess net worth. Under the new dividend formula in the Third Amendment,

Fannie Mae and Freddie Mac would no longer incur additional debt in order to make

their quarterly dividend payments, but they would no longer accrue capital during

good quarters. Under the Third Amendment, Fannie Mae and Freddie Mac together

paid Treasury $130 billion in dividends in 2013, and another $40 billion in 2014. In

2015, however, Fannie Mae’s and Freddie Mac’s quarterly net worth was much lower,

such that Fannie Mae paid Treasury $10.3 billion and Freddie Mac paid Treasury $5.5

billion. By comparison, without the Third Amendment, Fannie Mae and Freddie Mac


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330   7
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 8 of 16




together would have been required to pay Treasury $19 billion in 2015. If they had

been unable to make the 2015 payments, the companies would have been required to

draw on Treasury’s commitment of funds and thereby increase Treasury’s liquidation

preference. In the first quarter of 2016, Fannie Mae paid Treasury $2.9 billion and

Freddie Mac paid Treasury no dividend at all.

           Plaintiffs in this case are shareholders in Fannie Mae and/or Freddie Mac. They

filed this lawsuit in October 2016. Counts 1-3 of the Complaint [Doc. # 1] seek relief

under the Administrative Procedure Act (“APA”). Count 4 challenges the provision

in HERA that requires cause for removal of the FHFA Director (“Removal

Provision”), arguing that it is an unconstitutional violation of the separation of

powers. Plaintiffs seek a declaratory judgment that the Third Amendment violated

HERA, that Treasury acted arbitrarily and capriciously by executing the Third

Amendment, and that FHFA’s structure violates the separation of powers. Plaintiffs

also seek an injunction requiring a “return” to Fannie Mae and Freddie Mac of all

dividend payments made pursuant to the Third Amendment, and enjoining the FHFA

from applying the Third Amendment in the future. Plaintiffs ask this Court to vacate

and set aside the Third Amendment.

           Defendants moved to dismiss Counts 1-3 based on the limit on judicial review

set forth in 12 U.S.C. § 4617(f). Both sides moved for summary judgment on Count


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330     8
        Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 9 of 16




4, the constitutional challenge. The pending motions have been exhaustively briefed

and are now ripe for decision.

II.        APA CLAIMS

           A.          Count 1 - FHFA

           Plaintiffs allege in Count 1 that the FHFA exceeded its statutory authority by

adopting the Third Amendment. Specifically, Plaintiffs allege that the FHFA acted

in contravention of its statutory duty to rehabilitate Fannie Mae and Freddie Mac and

its duty to preserve and conserve Fannie Mae’s and Freddie Mac’s assets. Plaintiffs

allege also that the FHFA exceeded its statutory authority by acting to benefit

taxpayers. Defendants seek dismissal of this claim as precluded by the limitation on

judicial review set forth in § 4617(f).

           This issue was addressed in Perry Capital, and this Court finds the District of

Columbia Circuit’s reasoning to be persuasive. As noted in Perry Capital, the “plain

statutory text [of § 4617(f)] draws a sharp line in the sand against litigative

interference – through judicial injunctions, declaratory judgments, or other equitable

relief – with FHFA’s statutorily permitted actions as conservator or receiver.” Perry

Capital, 848 F.3d at 1087. As explained by the District of Columbia Circuit,

“adoption of the Third Amendment falls within FHFA’s statutory conservatorship

powers.” Id. This is true because HERA “endows FHFA with extraordinarily broad


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330     9
       Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 10 of 16




flexibility to carry out its role as conservator.” Id. “Entirely absent from [HERA’s]

text is any mandate, command, or directive to build up capital for the financial benefit

of [Fannie Mae’s and Freddie Mac’s] stockholders.” Id. at 1088. To avoid the

limitation of § 4617(f), Plaintiffs’ burden “is to show that FHFA’s actions were

frolicking outside of statutory limits as a matter of law.” Id. at 1093. For the reasons

set forth in Perry Capital, the arguments asserted by Plaintiffs here – the same

arguments asserted by the plaintiffs in Perry Capital – fail to demonstrate that the

FHFA’s conduct was outside the scope of its broad statutory authority as conservator.

Therefore, Plaintiffs’ APA claim against the FHFA is barred by § 4617(f).

           B.          Counts 2 and 3 - Treasury

           Plaintiffs allege that Treasury’s conduct in connection with the Third

Amendment exceeded its statutory authority under HERA and was arbitrary and

capricious. As explained by the District of Columbia Circuit in Perry Capital, these

claims are barred by § 4617(f). See Perry Capital, 848 F.3d at 1096-97. “Section

4617(f) also forecloses judicial relief that would ‘affect’ the exercise of FHFA’s

‘powers or functions’ as conservator or receiver.” Id. at 1096. Here, “the effect of

any injunction or declaratory judgment aimed at Treasury’s adoption of the Third

Amendment would have just as direct and immediate an effect as if the injunction

operated directly on FHFA.” Id. “Accordingly, Section 4617(f)’s prohibition on


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330      10
       Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 11 of 16




relief that ‘affect[s] FHFA applies here because the requested injunction’s operation

would have exactly the same force and effect as enjoining FHFA directly.” Id.

Therefore, § 4617(f) bars Counts 2 and 3 of Plaintiffs’ Complaint.

III.       CONSTITUTIONAL CLAIMS

           The FHFA is governed by a Director who can be removed only for cause. See

12 U.S.C. § 4512(b)(2) (“The Director shall be appointed for a term of 5 years, unless

removed before the end of such term for cause by the President”). Plaintiffs argue that

this structure violates the constitutional separation of powers. Plaintiffs argue that,

as a result, the FHFA is unconstitutional and the Third Amendment is invalid as

entered into by an unconstitutional entity. The Court concludes that the for-cause

removal provision for the FHFA’s Director does not violate the United States

Constitution.

           Article II of the United States Constitution charges the President to “take Care

that the Laws be faithfully executed.” U.S. CONST. Art. II, § 3. The Constitution

specifically defines the President’s appointment power:

           He shall nominate, and by and with the Advice and Consent of the
           Senate, shall appoint Ambassadors, other public Ministers and Consuls,
           Judges of the supreme Court, and all other Officers of the United States,
           whose Appointments are not herein otherwise provided for, and which
           shall be established by Law: but the Congress may by law vest the
           Appointment of such inferior Officers, as they think proper, in the
           President alone, in the Courts of Law, or in the Heads of Departments.


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330     11
       Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 12 of 16




U.S. CONST. Art. II, § 2, cl. 2.

           The Constitution, however, “is conspicuously silent” regarding the President’s

removal authority. See Consumer Fin. Prot. Bureau v. ITT Educ. Servs., Inc., __

F.3d __, 2015 WL 1013508, *7 (S.D. Ind. Mar. 6, 2015) (appeal dismissed).

Nonetheless, the United States Supreme Court has held that “some degree of

discretion in removing executive officers is inherent in the President’s powers and

must be protected from excessive legislative encroachment.” Id. First, in Myers v.

United States, 272 U.S. 52 (1926), the Supreme Court held that Congress was

prohibited from unduly limiting the President’s removal power.

           In Humphrey’s Executor v. United States, 295 U.S. 602 (1935), the Supreme

Court held that the President’s removal power was not absolute with respect to

removal of officers of federal agencies that are not “purely executive” but that,

instead, engage in activities that are quasi-judicial, quasi-legislative, or otherwise not

exclusively the execution and enforcement of the laws enacted by Congress. See 295

U.S. at 627-29.

           Later, in Morrison v. Olson, 487 U.S. 654 (1988), the Supreme Court held that

the Attorney General’s appointment of an “independent counsel” did not

unconstitutionally violate the President’s appointment and removal powers. See

Morrison, 487 U.S. at 691-92. The Supreme Court noted that the President retained


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330    12
       Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 13 of 16




some control over the independent counsel through his control over the Attorney

General, the President’s at-will appointee. See id. at 692.

           Most recently, in 2010, the Supreme Court noted that it previously held that

“Congress can, under certain circumstances, create independent agencies run by

principal officers appointed by the President, whom the President may not remove at

will but only for good cause.” Free Enter. Fund v. Pub. Co. Accounting Oversight

Bd., 561 U.S. 477, 483 (2010) (citing Humphrey’s Executor). At issue in Free

Enterprise was a “for cause” requirement for the removal of commissioners of the

Public Company Accounting Oversight Board, an entity under the Securities and

Exchange Commission whose own commissioners could be removed only for cause.

The Supreme Court held that this “second level of tenure protection changes the

nature of the President’s review.” Id. at 496. The Supreme Court held this structure

providing two levels of “for cause” removal protection to be unconstitutional. See id.

at 498.

           Viewed in light of this Supreme Court rubric, the structure of the FHFA does

not violate the Constitution. As noted in Morrison, “the real question is whether the

removal restrictions are of such a nature that they impede the President’s ability to

perform his constitutional duty.” Morrison, 487 U.S. at 691. A “for cause”

requirement for removal has been approved by the Supreme Court where, as here, the


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330   13
       Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 14 of 16




agency’s mission is not “purely executive.” See Humphrey’s Executor, 295 U.S. at

619, 632; see also Consumer Fin. Prot. Bureau v. Morgan Drexen, Inc., 60 F. Supp.

3d 1082, 1087-88 (C.D. Cal. 2014); Consumer Fin. Prot. Bureau v. ITT Educ. Servs.,

Inc., 2015 WL 1013508 at *9. Indeed, the challenged Third Amendment was adopted

by the FHFA in its capacity as conservator of Fannie Mae and Freddie Mac, not as an

executive enforcing the laws of the United States.

           Plaintiffs in their Motion for Summary Judgment on Constitutional Claim rely

primarily on PHH Corp. v. Consumer Fin. Prot. Bureau, 839 F.3d 1 (D.C. Cir. 2016),

which held that the Consumer Financial Protection Bureau was unconstitutionally

governed by a single Director removable only for cause. The District of Columbia

Circuit has granted rehearing en banc and has vacated the panel’s opinion on which

Plaintiffs rely. Moreover, the panel’s decision was based on the view that the single-

Director structure of the CFPB was “novel” and that the independent counsel statute

upheld in Morrison was a mistake. In addition to the CFPB and the FHFA at issue in

this case, the Social Security Administration’s Commissioner is a single agency head

who is removable only for cause. See 42 U.S.C. § 902(a). Whether the independent

counsel statute was wise or a mistake, it was upheld as constitutional by the Supreme

Court in Morrison. As a result, the Court finds the reasoning of the panel decision in

PHH Corp. to be unpersuasive even if it had not been vacated.


P:\ORDERS\11-2016\3113MsD.wpd 170522.1330   14
       Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 15 of 16




           Plaintiffs argue that the single director structure is a “second layer” that renders

the structure of the FHFA unconstitutional under Free Enterprise. The existence of

a single director is not, however, a “second level of tenure protection” that is

prohibited by Free Enterprise. Indeed, the existence of a single director rather than

a board or commission offers no “tenure protection” at all. Additionally, the Supreme

Court did not limit its decision in Humphrey’s Executor to a multimember board

rather than a single director, holding simply that a “for cause” removal provision for

agencies that are not “purely executive” was not an unconstitutional violation of the

separation of powers. The FHFA’s removal provision, when viewed in light of the

agency’s overall structure and purpose, does not impede the President’s ability to

perform his constitutional duty to take care that the laws are faithfully executed. As

a result, Plaintiffs’ Motion for Summary Judgment on this constitutionality issue is

denied and Defendants’ Motion for Summary Judgment on this issue is granted.



IV.        CONCLUSION AND ORDER

           Based on the foregoing, particularly the District of Columbia Circuit’s well-

reasoned decision in Perry Capital, the Court grants Defendants’ Motions to Dismiss

the APA claims as precluded by § 4617(f). Additionally, the Court concludes that the




P:\ORDERS\11-2016\3113MsD.wpd 170522.1330       15
       Case 4:16-cv-03113 Document 52 Filed on 05/22/17 in TXSD Page 16 of 16




removal for cause provision applicable to the FHFA Director is not unconstitutional.

Accordingly, it is hereby

           ORDERED that the Motion to Dismiss [Doc. # 23] filed by Defendants Federal

Housing Finance Agency and Melvin L. Watt is GRANTED; the Motion to Dismiss

[Doc. # 25] filed by the United States Department of Treasury (“Treasury”) and

Steven Mnuchin is GRANTED; Plaintiffs’ Motion for Summary Judgment on

Constitutional Claim [Doc. # 33] is DENIED; and the Cross-Motion for Summary

Judgment on Constitutional Claim [Doc. # 35] filed by the FHFA and Watt is

GRANTED.

           The Court will issue a separate final order.

           SIGNED at Houston, Texas, this 22nd day of May, 2017.




                                                     NAN Y F. ATLAS
                                            SENIOR UNI   STATES DISTRICT JUDGE




P:\ORDERS\11-2016\3113MsD.wpd 170522.1330     16
